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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )        No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
KEVIN K. McALEENAN, et al.,              )
                                         )
                Defendants-Respondents.  )
                                         )

                                   JOINT STATUS REPORT

       On October 17, 2019, the Court scheduled a hearing to be held on October 23, 2019, if Ms.

Rodriguez, Mr. Ferreira, and/or Mr. Moniz had not been released pending the November 4, 2019

hearing. ECF No. 406. On October 18, 2019, the Court ordered the parties to confer and report on

October 22, 2019, as to whether the parties had reached an agreement for the release of Ms.

Rodriguez, Mr. Ferreira, and/or Mr. Moniz pending removal. ECF No. 409. The parties have

conferred and report as follows:

       1. The parties have come to an agreement regarding the release of Ms. Rodriguez, Mr.

           Ferreira, and Mr. Moniz, and Ms. Rodriguez, Mr. Ferreira, and Mr. Moniz have agreed

           to withdraw their portion of Petitioners’ Motion for Order to Show Cause (ECF No.

           304). Therefore, the parties respectfully request that the October 23, 2019 hearing be

           vacated.

       2. The parties are continuing to confer in an attempt to resolve the claims presented by

           the other individuals who are the subjects of Petitioners’ motion (ECF No. 304).
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  Therefore, the parties respectfully request until October 25, 2019, to comply with the

  Court’s October 17, 2019 order (ECF No. 406) and report on: (a) whether ICE is or

  should be allowed to remove from the United States any detained class members

  subject to the July 26, 2019 Order (ECF No. 310-1) who have been or are later released

  by ICE and (b) a proposed agenda for the November 4, 2019 hearing on Petitioners’

  motion (ECF No. 304). See ECF No. 406.




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          Respectfully submitted this 21st day of October, 2019.

Respectfully submitted,                           /s/ Shirley X. Li Cantin
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                                CERTIFICATE OF SERVICE
        I, Mary Larakers, Trial Attorney, hereby certify that this document filed through the ECF
system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                                    /s/ Mary L. Larakers
                                                    Mary L. Larakers
Dated: October 21, 2019                             Trial Attorney




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